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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 In re:                                                             )
                                                                    ) Chapter 15
 GEDEN HOLDINGS, LTD.,                                              )
                                                                    ) Case No. 25-90138 (ARP)
                     Debtor in a Foreign Proceeding.                )
                                                                    )
                                                                    )

ADVANTAGE AWARD SHIPPING LLC’S AMENDED WITNESS AND EXHIBIT LIST

          Advantage Award Shipping, LLC (“Advantage Award”)1 hereby submits the following

Amended Witness and Exhibit List (the “Amended Witness and Exhibit List”)2 with respect to the

hearing scheduled on June 4, 2025 at 11:00 a.m. (CT), in the above-captioned bankruptcy case (the

“Case”), pending before the Honorable Alfredo R. Perez, United States Bankruptcy Judge,

Courtroom 400, 515 Rusk, Houston, Texas 77002.

                                                WITNESS LIST

          Advantage Award may call the following witnesses:

          1.        Dr. Reuben Balzan, Liquidator of Geden Holdings, Ltd.

          2.        Any witness listed, offered, or called by any other party.

          3.        Any witness necessary for rebuttal.




1
  Under Local Rule 9027-3, Advantage does not consent to entry of final orders or judgments by the bankruptcy judge.
Advantage appears in this matter for the sole purpose of opposing recognition. By so appearing, Advantage: (a) does
not submit to the jurisdiction of this Court or the U.S. District Court for the Southern District of Texas under one or
more of 28 U.S.C. §§ 157, 1334, and 1452 (together, the “Bankruptcy Court”); (b) does not waive any argument
that the Bankruptcy Court lacks jurisdiction over Advantage or any disputes between Advantage on the one hand and
the Liquidator (as defined above) and any other party to this proceeding on the other hand; and (c) does not waive any
argument regarding the referral of any matter from the United States District Court to the United States Bankruptcy
Court, or any argument for or against removal, remand, or abstention.
2
  The only change reflected in this Amended Witness and Exhibit List is the addition of the Certified Translation of
the October 9, 2024 Motion to Maltese Court as part of Exhibit 35. D.I. 25 remains the same in all other respects.

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                                                 EXHIBIT LIST

 Exhibit                                                                                           Disposition
                               Description                       Offered   Objection   Admitted
  No.                                                                                             After Hearing
             Original Verified Complaint in Eclipse Liquidity,
             Inc. v. Avor Navigation Ltd., et al., Case No.
 1.          4:15-cv-01645 (S.D. Tex.)
             {Exhibit 1 to Request for Judicial Notice [Docket
             No. 24] (the “RJN”)}
             Original Verified Complaint in Tank Punk, Inc.
             v. Spike Shipping Ltd., Case No. 4:15-cv-01675
 2.
             (S.D. Tex.)
             {Exhibit 2 to RJN}
             Original Verified Complaint in Psara Energy,
             Ltd. v. Space Shipping, Ltd., Case No. 4:15-cv-
 3.
             01673 (S.D. Tex.)
             {Exhibit 3 to RJN}
             S.D. Tex. Consolidation Order
 4.
             {Exhibit 4 to RJN}
             Memorandum and Recommendation Granting
             Defendants’ Amended Motion to Vacate
 5.
             Attachments and Dismiss
             {Exhibit 5 to RJN}
             Final Judgment dated November 23, 2016
 6.
             {Exhibit 6 to RJN}
             Original Verified Complaint filed in Tank Punk,
             Inc. v. Spike Shipping Ltd., Case No. 1:15-cv-
 7.
             00461-MAC (“Tank II”)
             {Exhibit 7 to RJN}
             Amended Order of Dismissal and Directing the
 8.          Release of Security in Tank II
             {Exhibit 8 to RJN}
             Original Verified Complaint in Psara Energy,
             Ltd. v. Space Shipping, Ltd., Case No. 1:15-cv-
 9.
             00355 (E.D. Tex.) (“Psara II”)
             {Exhibit 9 to RJN}
             Order of Dismissal in Psara II
 10.
             {Exhibit 10 to RJN}
             Plaintiff’s Original Verified Complaint in Psara
             Energy, Ltd. v. Space Shipping, Ltd., Case No.
 11.
             2:16-cv-04840-WB (E.D. Pa.) (“Psara III”)
             {Exhibit 11 to RJN}
             Order issued in Psara III on January 3, 2017
 12.
             {Exhibit 12 to RJN}
              Original Verified Complaint in Psara Energy,
              Ltd. v. Space Shipping, Ltd., Case No. 2:16-cv-
 13.
              01305-SM-MBN (E.D. La.) (“Psara IV”)
              {Exhibit 13 to RJN}
              Order issued in Psara IV on January 6, 2017
 14.
              {Exhibit 14 to RJN}
              Plaintiff’s Original Verified Complaint in Psara
              Energy, Ltd. v. Space Shipping, Ltd., Case No.
 15.          1:18-cv-00178 (E.D. Tex.) (“Psara V”)
              {Exhibit 15 to RJN}




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 Exhibit                                                                                           Disposition
                               Description                       Offered   Objection   Admitted
  No.                                                                                             After Hearing
              Order of Dismissal in Psara V and Psara VI (as
 16.          defined below) on February 10, 2021
              {Exhibit 16 to RJN}
              Original Verified Complaint in Psara Energy,
              Ltd. v. Space Shipping, Ltd., Case No. 2:18-cv-
 17.
              04111 (“Psara VI”)
              {Exhibit 17 to RJN}
              Order and Reasons
 18.
              {Exhibit 18 to RJN}
              Plaintiff’s Original Verified in Psara Energy,
              Ltd. v. Space Shipping, Ltd., Case No. 3:20-cv-
 19.
              04102 (N.D. Cal.) (“Psara VII”)
              {Exhibit 19 to RJN}
              Order Transferring Case
 20.
              {Exhibit 20 to RJN}
              Order of Dismissal in Psara VII
 21.
              {Exhibit 21 to RJN}
              Original Complaint in Eclipse Liquidity, Inc. v.
              Geden Holdings Ltd. et al., No. 200300816
 22.
              (“Eclipse IIIa”)
              {Exhibit 22 to RJN}
              Answer and New Matter in Eclipse IIIa
 23.
              {Exhibit 23 to RJN}
              Original Complaint in Eclipse Liquidity, Inc. v.
              Karahmehmet-Williams et al., No. 230602605
 24.
              (“Eclipse IIIb”)
              {Exhibit 24 to RJN}
              Plaintiff’s Sur Reply to Corporate Defendants’
              Reply Brief in Support of Their Preliminary
 25.
              Objections in Eclipse IIIb
              {Exhibit 25 to RJN}
              Appeal Opinion issued on April 23, 2024 in
 26.          Eclipse IIIa and Eclipse IIIb
              {Exhibit 26 to RJN}
              Order in Eclipse Liquidity, Inc. v. Geden
              Holdings Ltd. et al., No. 587 EDA 2024 (Penn.
 27.
              Sup. Ct.) (the “PA Appeal”)
              {Exhibit 27 to RJN}
              Response of Reuben Balzan Liquidator of Geden
              Holdings Ltd. to Order to Show Cause in the PA
 28.
              Appeal
              {Exhibit 28 to RJN}
              Declaration of Advocate Reuben Balzan
 29.
              {Exhibit 29 to RJN}
              Order in the PA Appeal
 30.
              {Exhibit 30 to RJN}
              Petition for Allowance to Appeal Order of the
              Superior Court filed with the Supreme Court of
 31.
              Pennsylvania on June 4, 2024
              {Exhibit 31 to RJN}
              Order of the Supreme Court of Pennsylvania
 32.
              {Exhibit 32 to RJN}




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 Exhibit                                                                                             Disposition
                                Description                        Offered   Objection   Admitted
  No.                                                                                               After Hearing
              Petition of Reuben Balzan on Behalf of Petitioner
              Geden Holdings, Ltd. in Liquidation for the Court
 33.
              to Exercise Jurisdiction Under 42 PA. C.S. 726
              {Exhibit 33 to RJN}
              Order of the Supreme Court of Pennsylvania
 34.
              {Exhibit 34 to RJN}
              October 9, 2024 Motion to Maltese Court –
 35.
              Certified Translation included
              Any exhibits listed, designated, or offered by any
 36.
              other party
 37.          Any exhibits necessary for rebuttal
              Any pleading or other document filed with the
              Court on the docket of the above-captioned
 38.
              chapter 11 cases and related adversary
              proceedings
          Advantage Award reserves the right to modify, amend or supplement this Amended

Witness and Exhibit List at any time. Advantage Award reserves the right to ask the Court to take

judicial notice of pleadings, orders, transcripts and/or documents filed in or in connection with this

Case, to offer rebuttal exhibits, and to supplement or amend this Amended Witness and Exhibit

List at any time prior to the June 4, 2025 hearing. Designation of any exhibit above does not waive

any objections Advantage Award may have to any exhibit listed on any other party’s exhibit list.

Dated: June 3, 2025                                    Respectfully submitted,
                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                       /s/ Steven W. Golden
                                                       Michael D. Warner (TX Bar # 00792304)
                                                       Steven W. Golden (TX Bar # 24099681)
                                                       700 Louisiana Street, Suite 4500
                                                       Houston, TX 77002
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                                                       sgolden@pszjlaw.com
                                                       and
                                                       Jordan A. Kroop (pro hac vice forthcoming)
                                                       Jeffrey M. Dine (pro hac vice forthcoming)
                                                       1700 Broadway, 36th Floor
                                                       New York, NY 10019
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                                                       jdine@psjzlaw.com

                                                       Counsel for Advantage Award Shipping, LLC

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 3, 2025, a true and correct copy of the above and
foregoing pleading was caused to be served electronically through this Court’s CM/ECF noticing
system on parties registered to receive electronic notices in this case pursuant to the Electronic
Filing Procedures in this District, including the United States Trustee and counsel for the Foreign
Representative.

                                                     /s/ Steven W. Golden
                                                     Steven W. Golden




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